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CRIMEFIGHTING PAYS\ POLICE ORGANIZATION HONORS 'SUPER
CITIZEN'
BERNIE WOODALL Staff Writer
Aug 26, 1991



               yan Routh isn't a super hero. He's just another guy who lives in Greensboro's
  R            Fisher Park area with a family he hopes to keep safe.

  But what he did - fight and chase a suspected rapist and later assist police in an
  investigation - makes him a super citizen if not a super hero. For his efforts, Routh
  was awarded a Law Enforcement Oscar by the Greensboro chapter of the
  International Union of Police Association. A statue shaped like an Academy Award
  rests on the mantle of his living room. Routh received the Oscar for being the
   '' citizen of the year."

   ' 'I hope that everybody else would have done the same thing in the same situation,'
  Routh, 25, said. ''When these types of incidents happen, most of what you do is just
  impulse. You're just reacting. I was happy to be at the right place at the right time.'

  Last spring, a woman working in an office building near Routh's house was raped by a
  burglar. After the rape, the woman locked herself in an office and scrambled onto a
  roof and yelled for help.


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 Routh was outside his house and ran to see what the woman was screaming about.
 She was yelling that the suspect was still inside the office building.

 ' 'I ran around to the front of the (office building) to see what was going on,' Routh
 said. ''This guy comes crawling out the front door. (That's) when I confronted him
 on the steps.'

 Routh said the man told him, ' 'Some lady up there is screaming and yelling.'

 ''To this guy, it was like nothing special was going on,' Routh said. ''It was like a
 walk in the park.

 ' 'He punched me at that point. He was a pretty strong fella, kind of short but strong.
 When he hit me, I grabbed hold of him. He shook free from me and took off running,'
 Routh said.

 Routh was knocked down during the scuffle. He got up and chased the man, but after
 several blocks, lost sight of him.

 Another neighbor and Routh drove around the neighborhood for about 15 minutes,
 and Routh rode around with a police officer later as well.

 Greensboro police detective Chris Frazier, who investigated the crime, was impressed
 with Routh.

  ' 'It's rare that you find a citizen who will go above and beyond to help police in
 stopping the crime or in the investigation of the crime,' Frazier said.

 When Routh stopped the man, Routh said he ''was thinking that this guy is the one
 who needs to be held for some questioning, at least. That's why I confronted him and
 chased him. And I thought I needed to at least hit him back.'
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 In April, Greensboro police arrested Terrance Bryant, 28, in connection with a series
 of burglaries and robberies. Bryant was also wanted on charges in New York. When
 shown the photo of Bryant among a group of others, Routh identified him as the man
 who punched him, Routh said.

 Routh said he probably would have tried to stop a criminal anywhere but with a
 woman screaming about a crime in his neighborhood, he took an added interest.

 ''When something happens (so close) it sort of shakes your world, too,' Routh said.
 ''When you have a wife and a 2-year-old child you act to put this guy away before
 something happens to your wife or your child.'

 Frazier said most citizens don't cooperate as well as Routh.

 ''He (Routh) has made himself available to interviews,' Frazier said. ''I wish we
 could have more help like that. We can't do it alone. We have to rely on citizens.'
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